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Attorneys for Defendants

                             UNITED STATES DISTRICT COURT
                         FOR THE SOUTHERN DISTRICT OF GEORGIA
                                   SAVANNAH DIVISION
 __________________________________________
                                            )
 ALTAMAHA RIVERKEEPER and                   )
 ONE HUNDRED MILES,                         )
                                            )
             Plaintiffs,                    )
                                            )
       v.                                   )   Case Nos. 4:18-cv-00251-JRH-JEG and
                                           )    4:18-cv-00254-JRH-JEG
 UNITED STATES ARMY CORPS OF               )
 ENGINEERS, et al.,                        )    MOTION FOR A STAY OF CASE
                                           )    IN LIGHT OF LAPSE OF
             Defendants,                   )    APPROPRIATIONS
                                           )
 SEA ISLAND ACQUISITION, LLC ,             )
                                           )
             Intervenors.                  )
                                           )
             and                           )
                                           )
 CENTER FOR A SUSTAINABLE COAST, INC., )
                                           )
             Plaintiff,                    )
                                           )
       v.                                  )
                                           )
 UNITED STATES ARMY CORPS OF               )
 ENGINEERS, et al.,                        )
                                           )
                     Defendants,           )
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                                          )
SEA ISLAND ACQUISITION, LLC,              )
                                          )
                  Intervenors             )
                                          )
__________________________________________)

                                 MOTION FOR A STAY OF CASE
                            IN LIGHT OF LAPSE OF APPROPRIATIONS

        The United States of America hereby moves for a stay of the entire case in the above-captioned

case.

        1.      At the end of the day on December 21, 2018, the appropriations act that had been funding

the Department of Justice expired and appropriations to the Department lapsed. The Department does

not know when funding will be restored by Congress.

        2.      Absent an appropriation, Department of Justice attorneys are prohibited from working,

even on a voluntary basis, except in very limited circumstances, including “emergencies involving the

safety of human life or the protection of property.” 31 U.S.C. § 1342.

        3.      Undersigned counsel for the Department of Justice therefore requests a stay of the entire

case until Congress has restored appropriations to the Department.

        4.      If this motion for a stay is granted, undersigned counsel will notify the Court as soon as

Congress has appropriated funds for the Department. The Government requests that, at that point, all

current deadlines for the parties be extended commensurate with the duration of the lapse in

appropriations.

        5.      Opposing counsel for Altahama Riverkeeper and One Hundred Miles takes no position

on the motion. Despite several attempts to contact opposing counsel for Center for a Sustainable Coast,

Federal Defendants’ counsel has not received a response from opposing counsel regarding its position

on the motion. Defendant Intervenors consent to the motion.
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       6.      Therefore, although we greatly regret any disruption caused to the Court and the other

litigants, the Government hereby moves for a stay of this case until Department of Justice attorneys are

permitted to resume their usual civil litigation functions.

Respectfully submitted December 31, 2018        JEAN E. WILLIAMS
by                                              Deputy Assistant Attorney General

Of Counsel                                      s/ Dedra S. Curteman
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                                   CERTIFICATE OF SERVICE

       I certify that on December 31, 2018, I electronically filed the foregoing Motion for a Stay of

Case in Light of Lapse of Appropriations with the Clerk of Court using the CM/ECF system.

                                                            s/ Dedra S. Curteman
